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 1   TORRES | TORRES STALLINGS AND ASSOCIATES
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 5
     Attorney for:
 6   BANDAR SALEH ALNAGGAR
 7                                    UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                          Case No. 18-CR-00135 DAD-BAM
11                       Plaintiff,
12           v.                                          STIPULATION AND ORDER TO
                                                         CONTINUE THE STATUS CONFERENCE
13    BANDAR SALEH ALNAGGAR,
14                       Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE BARBARA
17   MCAULIFFE AND GRANT RABENN, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, BANDAR ALNAGGAR, by and through his attorney of

19   record, DAVID A. TORRES hereby requesting that the status conference hearing currently set for

20   March 9, 2020, to be continued to April 13, 2020.

21          AUSA Grant Rabenn has sent a proposed plea agreement to Mr. Bandar. Mr. Bandar and I

22   have reviewed said plea agreement, however, issues have surfaced which will affect his ability to

23   accept a plea agreement at this time. In an abundance of caution, Mr. Bandar needs additional

24   time to consult with immigration attorneys regarding his status Based upon the foregoing, the

25   defense is seeking a continuance of the status conference. In the event a resolution is achieved,

26   Mr. Bandar will set the matter for a Change of Plea hearing. I have spoken to AUSA Grant

27   Rabenn and co-counsel, and they have no objection to continuing the status conference hearing.

28          The parties also agree the delays resulting from the continuance shall be excluded in the
                                                       1
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 1   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1) and (I)(V) because it

 2   results from a continuance granted by the Court at defendants request in the basis of the Courts

 3   finding that the ends of justice served by taking such action outweigh the best interest od the

 4   public and the defendant in a speedy trial act.

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            IT IS SO STIPULATED.
 7                                                                Respectfully Submitted,
     DATED: March 4, 2020, 2020                                   /s/ David A Torres      ___
 8                                                                DAVID A. TORRES
                                                                  Attorney for Defendant
 9
                                                                  BANDAR SALEH ALNAGGAR
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11

12   DATED: March 4, 2020                                         /s/Grant Rabenn ________
13                                                                GRANT RABENN
                                                                  Assistant U.S. Attorney
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16
                                                  ORDER

17          IT IS SO ORDERED that the 4th Status Conference is continued from March 9, 2020 to
18   May 11, 2020 at 1:00 PM before Magistrate Judge Barbara A. McAuliffe. Time is excluded
19   pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1) and (I)(V).
20
21   IT IS SO ORDERED.

22      Dated:     March 4, 2020                              /s/ Barbara A. McAuliffe                 _
23                                                      UNITED STATES MAGISTRATE JUDGE

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